AO 450 (Rev. 01/09) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    District of South Carolina

Chalpin Realty SC LLC,                                         )
                                                               )             No. 4:22-cv-02651-JD
         Plaintiff(s),                                         )
                                                               )
vs                                                             )
                                                               )
Jersam Realty Inc,                                             )
                                                               )
         Defendant(s).                                         )

                                SUMMARY JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)__________________ recover from the defendant (name)______________ the amount of

___________dollars ($______), which includes prejudgment interest at the rate of _____%, plus postjudgment

interest at the date of _____%, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name) _______ recover

costs from the plaintiff (name)________________.

U other: Summary Judgment is entered for Plaintiff, Chalpin Realty SC LLC, and this case is dismissed.

This action was (check one):
’ tried by a jury with Judge______________presiding, and the jury has rendered a verdict.

’ tried by Judge______________without a jury and the above decision was reached.

U decided by the Honorable Joseph Dawson, III, United States District Judge, who grants Plaintiff’s Motion for
Summary Judgment.

                                                              Robin L. Blume
                                                             CLERK OF COURT

                                                       By: s/Leah Gibbons, Deputy Clerk

September 26, 2023
